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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   BRIAN FISCHLER, Individually and on            ECF CASE
   behalf of all other persons similarly
   situated,
                                                  No.: ____________________
                  Plaintiff,
                                                  CLASS ACTION COMPLAINT
          v.
                                                  JURY TRIAL DEMANDED
   JOHN B. STETSON COMPANY, INC.,

                  Defendant.


                                       INTRODUCTION

          1.      Plaintiff Brian Fischler, who is legally blind, brings this civil rights action

   against Defendant John B. Stetson Company, Inc. (“Defendant”) for its failure to design,

   construct, maintain, and operate its website, www.stetson.com (the “Website”), to be

   fully accessible to and independently usable by Plaintiff Fischler and other blind or

   visually-impaired people. Defendant denies full and equal access to its Website.

          2.      Plaintiff Fischler, individually and on behalf of others similarly situated,

   asserts claims under the Americans With Disabilities Act (“ADA”), New York State

   Human Rights Law (“NYSHRL”), and New York City Human Rights Law (“NYCHRL”)

   against Defendant.

          3.      Plaintiff Fischler seeks a permanent injunction to cause Defendant to

   change its corporate policies, practices, and procedures so that its Website will become

   and remain accessible to blind and visually-impaired consumers.




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                                         THE PARTIES

          4.      Plaintiff Fischler is, at all relevant times, a resident of Astoria, New York,

   Queens County. As a blind, visually-impaired handicapped person, he is a member of a

   protected class of individuals under Title III of the ADA, under 42 U.S.C. § 12102(1)-(2),

   and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

   NYSHRL and NYCHRL.

          5.      Defendant is at all relevant times a foreign business corporation that is

   organized under Delaware law and is authorized to do business in the State of New York.

                                6.      JURISDICTION AND VENUE

          7.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

   § 1331 and 42 U.S.C. § 12181, as Plaintiff Fischler’s claims arise under Title III of the

   ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

          8.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

   Plaintiff Fischler’s NYSHRL, N.Y. Exec. Law Article 15, and NYCHRL, N.Y.C. Admin.

   Code § 8-101 et seq., claims.

          9.      Venue is proper under §1391(b)(2) as a substantial part of the events

   giving rise to the claims occurred in this District: Plaintiff Fischler is a resident of this

   District; and he has attempted to access the Website in this District and, in doing so, was

   denied the full use and enjoyment of the facilities, goods, and services of the Website

   while in Kings County.

          10.     This Court is empowered to issue a declaratory judgment under 28 U.S.C.

   §§ 2201 and 2202.




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                                    NATURE OF ACTION

          11.     Blind and visually impaired users of Windows operating system-enabled

   computers and devices have several screen-reading software programs available to them.

   Some of these programs are available for purchase and other programs are available

   without the user having to purchase the program separately. Job Access With Speech

   (“JAWS”) is currently the most popular, separately purchased and downloaded screen-

   reading software program available for a Windows computer.

          12.     For screen-reading software to function, the information on a website must

   be capable of being rendered into text. If the website content is not capable of being

   rendered into text, the blind or visually impaired user is unable to access the same content

   available to sighted users.

          13.     The international website standards organization, the World Wide Web

   Consortium, known throughout the world as W3C, has published version 2.0 of the Web

   Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

   guidelines for making websites accessible to blind and visually impaired people. These

   guidelines are universally followed by most large business entities and government

   agencies to ensure its websites are accessible.

          14.     For a website to be equally accessible to a blind or visually impaired

   person, under these guidelines, it should have following:

                  a.      Alternative text (“alt-text”) or text equivalent for every non-text

   element. Alt-text is an invisible code embedded beneath a graphical image on a website.

   Web accessibility requires that alt-text be coded with each picture so that screen-reading

   software can speak the alt-text where a sighted user sees pictures, which includes captcha




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   prompts. Alt-text does not change the visual presentation, but instead a text box shows

   when the mouse moves over the picture. The lack of alt-text on these graphics prevents

   screen readers from accurately vocalizing a description of the graphics, depriving that

   person from knowing what is on the website.

                   b.      Videos have audio description.

                   c.      Title frames with text are provided. Absent these titles, navigating

   a website is particularly difficult.

                   d.      Webpage headings are properly labeled with the topic or purpose

   of the webpage, versus being blank. Screen readers read out page headings, allowing

   users to quickly skip to a section. Navigation is, however, very difficult without those

   headings.

                   e.      Equivalent text is provided when using scripts.

                   f.      Forms may be completed with the same information and

   functionality as for sighted persons. Absent forms being properly labeled, it is difficult

   for a visually impaired or blind individual to complete the forms, as they do not know

   what the fields, how to input data, or what options to select (e.g., selecting a date or a

   size). A compliant website will, instead, provide labels or instructions when content

   requires user input. This includes captcha prompts, requiring the user to verity that he or

   she is not a robot.

                   g.      Information about the meaning and structure of content is

   conveyed by more than the visual presentation of content.




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                  h.      Web pages do not share the same ID or title. When two or more

   elements on a web page share the same ID or title, it cause problems in screen readers

   which use IDs for labeling controls and table headings.

                  i.      Linked images must contain alt-text explaining the image. Absent

   that alt-text, a screen reader has no content to present the user as to what the image is.

                  j.      The purpose of each link is easily determined from how the link is

   labeled. Absent properly labeling each link or when no description exists, it confuses

   keyboard and screen-reader users as they do not know the purpose of the links. This

   includes captcha prompts.

                  k.      No redundant links where adjacent links go to the same URL

   address. When redundant links exist, it causes additional navigation and repetition for

   keyboard and screen-reader users.

                  l.      Portable Document Formats (PDFs) are accessible. When they are

   inaccessible, the visually impaired or blind individual cannot learn what information is on

   them.

                  m.      One or more keyboard operable user interface has a mode of

   operation where the keyboard focus indicator is discernible.

                  n.      Changing the setting of a user interface component does not

   automatically cause a change of content where the user has not been advised before using

   the component.

                  o.      The name and role of all user interface elements can be

   programmatically determined; items that can be set by the user can be programmatically




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   set; and/or notification of changes to these items are available to user agents, including

   assistive technology.

                                   STATEMENT OF FACTS

   Defendant, Its Website And Its Website’s Barriers

          15.     Defendant is a world renowned hat maker. Defendant has been making

   hats for more than a century and has extended its breadth to include other types of apparel

   including boots, shirts, denim, jackets, skirts, sweaters and similar items for men and

   women. Defendant sells its products online through its Website and through several

   third-party retailers including Western Spirit, located at 395 Broadway, New York, New

   York, J.J. Hat Center located at 310 Fifth Avenue, New York, New York, and Costco

   stores throughout the State.

          16.     Defendant’s Website is heavily integrated with its retail operations.

   Through the Website, Defendant’s customers are, inter alia, able to: learn information

   about items for sale online and view images of those items; learn about the construction

   and fit; learn about size and color options; learn about the return policy, locate a third-

   party retailer and complete a purchase.

          17.     Defendant’s Website is a commercial marketplace. Through the Website,

   customers can learn where to buy Defendant’s products or place an order online for

   delivery.

          18.     It is, upon information and belief, Defendant’s policy and practice to deny

   Plaintiff Fischler and other blind or visually-impaired users access to its Website, thereby

   denying the facilities and services that are offered and integrated with its retail

   operations. Due to its failure and refusal to remove access barriers to its Website, Plaintiff




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   Fischler and visually-impaired persons have been and are still being denied equal access

   to Defendant’s online retail operations and the numerous facilities, goods, services, and

   benefits offered to the public through its Website.

          19.     Plaintiff Fischler cannot use a computer without the assistance of screen-

   reading software. He is, however, a proficient VoiceOver screen-reader user and uses it to

   access the Internet. He has visited the Website on separate occasions using VoiceOver

   screen-reading software.

          20.     During his visits to the Website, the last occurring on or about March 3,

   2020, Plaintiff Fischler encountered multiple access barriers that denied him the full

   enjoyment of the facilities, goods, and services of the Website, as well as to the facilities,

   goods, and services of Defendant’s retail operations. Because of these barriers, he was

   unable to, substantially equal to sighted individuals:

                  a.      Know what is on the Website. This is in part due to the non-text

   images lacking proper alternative text. Some Images are labeled only with a long string

   of numbers. Other images are completely untagged. For example, on the page for the

   Weightless Crew T-Shirt, a sighted user is given five images of the t-shirt in multiple

   colors from multiple angles. Videos contained on the Website also lack any audio

   description. Plaintiff Fischler had difficulty learning about third-party retailers selling

   Defendant’s products. On the store locator page, after entering his zip code in the search

   field, the screen reader skipped over the results, making Plaintiff Fischler believe the

   search didn’t work. He needed assistance from a sighted user to locate the results.

   Plaintiff Fischler was also unable to learn about products equal to a sighted user. There

   are no alerts when a size is unavailable. A sighted user, by contrast, can see that the size




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   is crossed out. He was also unable to learn about fit, because the size chart is not

   properly tagged and therefore is inaccessible to screen reader users.

                  b.      Navigate the Website. The Website was difficult to navigate using

   a screen reader. When navigating the page using his arrow keys, Plaintiff Fischler gets

   trapped in the carousel of untagged images at the top of the page. He also lost control of

   his focus when trying to navigate the filter options on the shopping pages. Throughout

   the Website, the screen reader picks up non-text elements such as blank spaces. Plaintiff

   Fischler was unable to complete a purchase on the Website. This is due in part to the fact

   that there is no alert when an item is unavailable, it simply is not added to the cart. In

   addition, the checkout form is not properly formatted. He is unable to navigate the form

   by form controls, and when trying to navigate with his arrow keys, his focus gets trapped

   in a search frame. Therefore, he could not complete a purchase.

          21.     Plaintiff Fischler was denied full and equal access to the facilities and

   services Defendant offers to the public on its Website because he encountered multiple

   accessibility barriers that visually-impaired people often encounter with non-compliant

   websites:

                  a.      Lack of alt-text for images.

                  b.      Fieldset elements are not labeled with legend elements.

                  c.      Tables are not properly labeled.

                  d.      Frames do not have a title.

                  e.      Some pages have the same title so the title cannot be used to

   distinguish pages.




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                   f.     Button elements are empty and have no programmatically

   determined name.

                   g.     Forms have fields without label elements or title attributes.

                   h.     Webpages have duplicate IDs, which cause problems with screen

   readers.

                   i.     Approximately twenty (20) headings are empty.

                   j.     Several links on a page share the same link text but go to different

   destinations.

                   k.     Webpages have markup errors.

   Defendant Must Remove Barriers to Its Website

          22.      Due to the inaccessibility of its Website, blind and visually-impaired

   customers such as Plaintiff Fischler, who need screen-readers, cannot fully and equally

   use or enjoy the facilities, goods, and services Defendant offers to the public on its

   Website. The Website’s access barriers that Plaintiff Fischler encountered have caused a

   denial of his full and equal access in the past, and now deter him on a regular basis from

   accessing the Website and taking advantage of Defendant’s retail services.

          23.      If the Website was equally accessible to all, Plaintiff Fischler could

   independently navigate it, view goods and service items; locate a third-party retailers;

   learn about products including available colors and sizes; and complete a purchase, as

   sighted individuals can.

          24.      Through his attempts to use the Website, Plaintiff Fischler has actual

   knowledge of the access barriers that make these services inaccessible and independently

   unusable by blind and visually-impaired people.




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           25.        Because simple compliance with the WCAG 2.0 Guidelines would

    provide Plaintiff Fischler and other visually-impaired consumers with equal access to the

    Website, Plaintiff Fischler alleges that Defendant has engaged in acts of intentional

    discrimination, including, but not limited to, the following policies or practices:

                      a.     Constructing and maintaining a website that is inaccessible to

    visually-impaired individuals, including Plaintiff Fischler;

                      b.     Failing to construct and maintain a website that is sufficiently

    intuitive to be equally accessible to visually-impaired individuals, including Plaintiff

    Fischler; and,

                      c.     Failing to take actions to correct these access barriers in the face of

    substantial harm and discrimination to blind and visually impaired consumers, such as

    Plaintiff Fischler, as a member of a protected class.

           26.        Defendant therefore uses standards, criteria or methods of administration

    that have the effect of discriminating or perpetuating the discrimination of others, as

    alleged herein.

           27.        Title III of the ADA expressly contemplates the injunctive relief that

    Plaintiff Fischler seeks under 42 U.S.C. § 12188(a)(2).

           28.        Because its Website has never been equally accessible, and because

    Defendant lacks a corporate policy that is reasonably calculated to cause its Website to

    become and remain accessible, Plaintiff Fischler seeks a permanent injunction under 42

    U.S.C. § 12188(a)(2) requiring Defendant to retain a qualified consultant acceptable to

    Plaintiff Fischler to assist Defendant to comply with WCAG 2.0 guidelines for its

    Website:




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                    a.     Remediating the Website to be WCAG 2.0 AA compliant;

                    b.     Training Defendant’s employees and agents who develop the

    Website on accessibility compliance under the WCAG 2.0 guidelines;

                    c.     Regularly checking the accessibility of the Website under the

    WCAG 2.0 guidelines;

                    d.     Regularly testing user accessibility by blind or vision-impaired

    persons to ensure that Defendant’s Website complies under the WCAG 2.0 guidelines;

    and,

                    e.     Developing an accessibility policy that is clearly disclosed on

    Defendant’s Website, with contact information for users to report accessibility-related

    problems.

              29.   Although Defendant may currently have centralized policies on

    maintaining and operating its Website, Defendant lacks a plan and policy reasonably

    calculated to make them fully and equally accessible to, and independently usable by,

    blind and other visually impaired consumers.

              30.   Without injunctive relief, Plaintiff Fischler and other visually impaired

    consumers will continue to be unable to independently use the Website, violating its

    rights.

              31.   Defendant has, upon information and belief, invested substantial sums in

    developing and maintaining its Website and has generated significant revenue from the

    Website. These amounts are far greater than the associated cost of making its Website

    equally accessible to visually impaired customers.




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           32.    Defendant has failed to take any prompt and equitable steps to remedy its

    discriminatory conduct. These violations are ongoing.

                               CLASS ACTION ALLEGATIONS

           33.    Plaintiff Fischler seeks to certify a nationwide class under Fed. R. Civ. P.

    23(a) and 23(b)(2): all legally blind individuals in the United States who have attempted

    to access Defendant’s Website and as a result have been denied access to the equal

    enjoyment of Defendant’s retail services and the products offered for sale online during

    the relevant statutory period (“Class Members”).

           34.    Plaintiff Fischler seeks to certify a State of New York subclass under Fed.

    R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the State of New York who

    have attempted to access the Website and as a result have been denied access to the equal

    enjoyment of Defendant’s retail services and the products offered for sale online and at

    third-party retailers during the relevant statutory period (“New York Subclass

    Members”).

           35.    Plaintiff Fischler seeks to certify a New York City subclass under Fed. R.

    Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City of New York who have

    attempted to access the Website and as a result have been denied access to the equal

    enjoyment of Defendant’s retail services and the products offered for sale online and at

    third-party retailers during the relevant statutory period (“New York City Subclass

    Members”).

           36.    Common questions of law and fact exist amongst the Class Members,

    New York Subclass Members and New York City Subclass Members:




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                   a.      Whether Defendant’s online retail services constitute a “public

    accommodation”;

                   b.      Whether Defendant’s Website is a “commercial marketplace”

    under Title III of the ADA;

                   c.      Whether Defendant’s Website is a “public accommodation” or a

    service or good “of a place of public accommodation” under Title III of the ADA;

                   d.      Whether Defendant’s Website is a “place or provider of public

    accommodation” or an “accommodation, advantage, facility or privilege” under the

    NYSHRL or NYCHRL;

                   e.      Whether Defendant’s Website denies the full and equal enjoyment

    of its goods, services, facilities, privileges, advantages, or accommodations to people

    with visual disabilities, violating Title III of the ADA; and

                   f.      Whether Defendant’s Website denies the full and equal enjoyment

    of its goods, services, facilities, privileges, advantages, or accommodations to people

    with visual disabilities, violating the NYSHRL or NYCHRL.

           37.     Plaintiff Fischler’s claims are typical of the Class Members, New York

    Subclass Members and New York City Subclass Members: they are all severely visually

    impaired or otherwise blind, and claim that Defendant has violated Title III of the ADA,

    NYSHRL or NYCHRL by failing to update or remove access barriers on its Website so it

    can be independently accessible to the visually impaired individuals.

           38.     Plaintiff Fischler will fairly and adequately represent and protect the Class

    and Subclasses’ interests because he has retained and is represented by counsel

    competent and experienced in complex class action litigation, and because he has no




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    interests antagonistic to the Class or Subclasses. Class certification of the claims is

    appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act

    on grounds generally applicable to the Class and Subclasses, making appropriate both

    declaratory and injunctive relief with respect to Plaintiff, the Class and Subclasses.

              39.   Alternatively, class certification is appropriate under Fed. R. Civ. P.

    23(b)(3) because fact and legal questions common to Class and Subclass Members

    predominate over questions affecting only individuals, and because a class action is

    superior to other available methods for the fair and efficient adjudication of this litigation.

              40.   Judicial economy will be served by maintaining this lawsuit as a class

    action in that it is likely to avoid the burden that would be otherwise placed upon the

    judicial system by the filing of numerous similar suits by people with visual disabilities

    throughout the United States.

                              FIRST CAUSE OF ACTION
                     VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

              41.   Plaintiff Fischler, individually and on behalf of the Class Members,

    repeats and realleges every allegation of the preceding paragraphs as if fully set forth

    herein.

              42.   Title III of the ADA prohibits “discriminat[ion] on the basis of disability

    in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

    or accommodations of any place of public accommodation by any person who owns,

    leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

              43.   Defendant’s online retail marketplace is a public accommodation under

    Title III of the ADA, 42 U.S.C. § 12181(7). Its Website is a service, privilege, or




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    advantage of Defendant’s online retail services. The Website is a service that is integrated

    with its retail operations and its third-party retailers.

            44.     Under Title III of the ADA, it is unlawful discrimination to deny

    individuals with disabilities the opportunity to participate in or benefit from the goods,

    services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

    12182(b)(1)(A)(i).

            45.     Under Title III of the ADA, it is unlawful discrimination to deny

    individuals with disabilities an opportunity to participate in or benefit from the goods,

    services, facilities, privileges, advantages, or accommodation, which is equal to the

    opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

            46.     Under Title III of the ADA, unlawful discrimination also includes, among

    other things:

            [A] failure to make reasonable modifications in policies, practices, or
            procedures, when such modifications are necessary to afford such goods,
            services, facilities, privileges, advantages, or accommodations to
            individuals with disabilities, unless the entity can demonstrate that making
            such modifications would fundamentally alter the nature of such goods,
            services, facilities, privileges, advantages or accommodations; and a
            failure to take such steps as may be necessary to ensure that no individual
            with a disability is excluded, denied services, segregated or otherwise
            treated differently than other individuals because of the absence of
            auxiliary aids and services, unless the entity can demonstrate that taking
            such steps would fundamentally alter the nature of the good, service,
            facility, privilege, advantage, or accommodation being offered or would
            result in an undue burden.

    42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

            47.     These acts violate Title III of the ADA, and the regulations promulgated

    thereunder. Plaintiff Fischler, who is a member of a protected class of persons under Title

    III of the ADA, has a physical disability that substantially limits the major life activity of




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    sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, he has been

    denied full and equal access to the Website, has not been provided services that are

    provided to other patrons who are not disabled, and has been provided services that are

    inferior to the services provided to non-disabled persons.

              48.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set

    forth and incorporated therein, Plaintiff Fischler requests the relief as set forth below.

                                 SECOND CAUSE OF ACTION
                                VIOLATIONS OF THE NYSHRL

              49.   Plaintiff Fischler, individually and on behalf of the New York Subclass

    Members, repeats and realleges every allegation of the preceding paragraphs as if fully

    set forth herein.

              50.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent,

    agent or employee of any place of public accommodation . . . because of the . . . disability

    of any person, directly or indirectly, to refuse, withhold from or deny to such person any

    of the accommodations, advantages, facilities or privileges thereof.”

              51.   The Website is a public accommodation under N.Y. Exec. Law § 292(9).

              52.   Defendant is subject to NYSHRL because it owns and operates its online

    retail marketplace and the Website. Defendant is a “person” under N.Y. Exec. Law §

    292(1).

              53.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

    remove access barriers to its Website, causing its Website and the services integrated

    with its online retail operations to be completely inaccessible to the blind. This

    inaccessibility denies blind patrons full and equal access to the facilities, goods and



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    services that Defendant makes available to the non-disabled public. N.Y. Exec. Law §§

    296(2)(a), 296(2)(c)(i), 296(2)(c)(ii).

           54.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

    includes, among other things, “a refusal to make reasonable modifications in policies,

    practices, or procedures, when such modifications are necessary to afford facilities,

    privileges, advantages or accommodations to individuals with disabilities, unless such

    person can demonstrate that making such modifications would fundamentally alter the

    nature of such facilities, privileges, advantages or accommodations being offered or

    would result in an undue burden.”

           55.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

    also includes, “a refusal to take such steps as may be necessary to ensure that no

    individual with a disability is excluded or denied services because of the absence of

    auxiliary aids and services, unless such person can demonstrate that taking such steps

    would fundamentally alter the nature of the facility, privilege, advantage or

    accommodation being offered or would result in an undue burden.”

           56.     Readily available, well-established guidelines exist on the Internet for

    making websites accessible to the blind and visually impaired. These guidelines have

    been followed by other large business entities and government agencies in making their

    websites accessible, including but not limited to: adding alt-text to graphics and ensuring

    that all functions can be performed using a keyboard. Incorporating the basic components

    to make its Website accessible would neither fundamentally alter the nature of its

    business nor result in an undue burden to them.




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           57.     Defendant’s actions constitute willful intentional discrimination against

    the class because of a disability, violating the NYSHRL, N.Y. Exec. Law § 296(2), in

    that Defendant has:

                   a.      Constructed and maintained a website that is inaccessible to Class

    Members with knowledge of the discrimination; and/or

                   b.      Constructed and maintained a website that is sufficiently intuitive

    and/or obvious that is inaccessible to blind class members; and/or

                   c.      Failed to take actions to correct these access barriers in the face of

    substantial harm and discrimination to blind class members.

           58.     Defendant discriminates, and will continue in the future to discriminate

    against Plaintiff Fischler and New York Subclass Members on the basis of disability in

    the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

    accommodations and/or opportunities of Defendant’s Website and its online retail

    operations under § 296(2) et seq. and/or its implementing regulations. Unless the Court

    enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff and

    the New York Subclass Members will continue to suffer irreparable harm.

           59.     As Defendant’s actions violate the NYSHRL, Plaintiff Fischler seeks

    injunctive relief to remedy the discrimination.

           60.     Plaintiff Fischler is also entitled to compensatory damages, as well as civil

    penalties and fines under N.Y. Exec. Law § 297(4)(c) et seq. for every offense.

           61.     Plaintiff Fischler is also entitled to reasonable attorneys’ fees and costs.

           62.     Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

    forth and incorporated therein Plaintiff prays for judgment as set forth below.




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                                  THIRD CAUSE OF ACTION
                                VIOLATIONS OF THE NYCHRL

            63.     Plaintiff Fischler, individually and on behalf the New York City Subclass

    Members, repeats and realleges every allegation of the preceding paragraphs as if fully

    set forth herein.

            64.     The NYCHRL provides that “It shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent,

    agent or employee of any place or provider of public accommodation, because of . . .

    disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any

    of the accommodations, advantages, facilities or privileges thereof.” N.Y.C. Admin.

    Code § 8-107(4)(a).

            65.     The Website is a public accommodation under NYCHRL, N.Y.C. Admin.

    Code § 8-102(9).

            66.     Defendant is subject to NYCHRL because it owns and operates its

    Website, making it a person under N.Y.C. Admin. Code § 8-102(1).

            67.     Defendant is violating the NYCHRL in refusing to update or remove

    access barriers to Website, causing its Website to be completely inaccessible to the blind.

    This inaccessibility denies blind patrons full and equal access to the facilities, goods, and

    services that Defendant makes available to the non-disabled public.

            68.     Defendant is required to “make reasonable accommodation to the needs of

    persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

    from discriminating on the basis of disability shall make reasonable accommodation to

    enable a person with a disability to . . . enjoy the right or rights in question provided that




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    the disability is known or should have been known by the covered entity.” N.Y.C.

    Admin. Code § 8-107(15)(a).

           69.     Defendant’s actions constitute willful intentional discrimination against

    the Subclass because of a disability, violating the NYCHRL, N.Y.C. Admin. Code § 8-

    107(4)(a) and § 8-107(15)(a,) in that it has:

                   a.      Constructed and maintained a website that is inaccessible to blind

    class members with knowledge of the discrimination; and/or

                   b.      Constructed and maintained a website that is sufficiently intuitive

    and/or obvious that is inaccessible to blind class members; and/or

                   c.      Failed to take actions to correct these access barriers in the face of

    substantial harm and discrimination to blind class members.

           70.     As such, Defendant discriminates, and will continue in the future to

    discriminate against Plaintiff Fischler and the New York City Subclass Members because

    of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

    advantages, accommodations and/or opportunities of its Website and its establishments

    under § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

    Defendant from continuing to engage in these unlawful practices, Plaintiff and the New

    York City Subclass will continue to suffer irreparable harm.

           71.     As Defendant’s actions violate the NYCHRL, Plaintiff Fischler seeks

    injunctive relief to remedy the discrimination.

           72.     Plaintiff Fischler is also entitled to compensatory damages, as well as civil

    penalties and fines for each offense. N.Y.C. Admin. Code §§ 8-120(8), 8-126(a).

           73.     Plaintiff Fischler is also entitled to reasonable attorneys’ fees and costs.




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           74.     Under N.Y.C. Admin. Code § 8-120 and § 8-126 and the remedies,

    procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as

    set forth below.

                                 FOURTH CAUSE OF ACTION
                                   DECLARATORY RELIEF

           75.     Plaintiff Fischler, individually and on behalf the Class Members, repeats

    and realleges every allegation of the preceding paragraphs as if fully set forth herein.

           76.     An actual controversy has arisen and now exists between the parties in that

    Plaintiff Fischler contends, and is informed and believes that Defendant denies, that its

    Website contains access barriers denying blind customers the full and equal access to the

    goods, services and facilities of its Website and by extension its online retail operations,

    which Defendant owns, operates and controls, fails to comply with applicable laws

    including, but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C.

    §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et

    seq. prohibiting discrimination against the blind.

           77.     A judicial declaration is necessary and appropriate now in order that each

    of the parties may know its respective rights and duties and act accordingly.

                                      PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Fischler respectfully requests this Court grant the

    following relief:

                   a.      A preliminary and permanent injunction to prohibit Defendant

    from violating Title III of the ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

    et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York;




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                   b.     A preliminary and permanent injunction requiring Defendant to

    take all the steps necessary to make its Website into full compliance with the

    requirements set forth in Title III of the ADA, and its implementing regulations, so that

    the Website is readily accessible to and usable by blind individuals;

                   c.     A declaration that Defendant owns, maintains and/or operates the

    Website in a manner that discriminates against the blind and which fails to provide access

    for persons with disabilities as required by ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

    Law § 296, et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York

                   d.     An order certifying the Class and Subclasses under Fed. R. Civ. P.

    23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his

    attorneys as Class Counsel;

                   e.     Compensatory damages in an amount to be determined by proof,

    including all applicable statutory damages, punitive damages and fines;

                   f.     Pre- and post-judgment interest;

                   g.     An award of costs and expenses of this action together with

    reasonable attorneys’ and expert fees; and

                   h.     Such other and further relief as this Court deems just and proper.




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                               DEMAND FOR TRIAL BY JURY

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Fischler demands a trial by jury on all

    questions of fact the Complaint raises.

    Dated: New York, New York
           March 31, 2020

                                          LIPSKY LOWE LLP



                                          s/ Douglas B. Lipsky
                                          Douglas B. Lipsky
                                          Christopher H. Lowe
                                          420 Lexington Avenue, Suite 1830
                                          New York, New York 10017-6705
                                          212.392.4772
                                          doug@lipskylowe.com
                                          chris@lipskylowe.com




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